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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 99-125-CR-Moore/Garber


   UNITED STATES OF AMERICA,

   v.

   BEN JOHNSON,

         Defendant.
   ____________________________/

                                REPORT AND RECOMMENDATION

          THIS CAUSE is before the Court by Order of Reference from United States District Judge

   K. Michael Moore. Pursuant to such reference the Court has received the defendant Johnson’s pro

   se Motion to Withdraw his Guilty Plea and the government’s response in opposition. A hearing was

   held on November 17th, 2006 and the defendant appeared with his attorney of record, Abe Bailey,

   Esquire.

                                      FACTUAL BACKGROUND

          This cause is back before this Court by remand from the Eleventh Circuit, who vacated an

   earlier judgment of guilt and imposition of a life sentence. Following the remand the defendant

   entered into a plea agreement with the government whereby he entered a plea of guilty to a single

   count of using a communication facility to further the commission of a drug offense, in violation of

   21 U.S.C. §843(b). Such offense, upon conviction, carries a maximum term of imprisonment of four

   (4) years, as well as a fine. Johnson has already served in excess of four years based upon his earlier

   conviction that has since been vacated. The defendant, in his motion now before the court, seeks

   to vacate his guilty plea and proceed to trial. His motion, however, advances no basis for the

   vacating of his plea.
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                                                 DISCUSSION

          Rule 11(d), formerly Rule 32(e) of the Federal Rules of Criminal Procedure authorizes the

   Court to permit a withdrawal of a guilty plea before sentencing upon a movant’s showing of “a fair

   and just reason for requesting the withdrawal.” As stated above, the defendant has not made any

   showing of such fair and just reason for the withdrawal of his plea. Further, although such motions

   should be liberally construed, a defendant has no absolute right to withdraw a guilty plea prior to

   sentencing. United States v. McCarty, 99 F.3d 383,385 (11th Cir. 1996).

          The transcript of the change of plea proceeding clearly reflects that the Court determined that

   “(1) the guilty plea must be free from coercion; (2) the defendant must understand the nature of the

   charges; and (3) the defendant must know and understand the consequences of his guilty plea.”

   United States v, Lejarde-Rada, 319 F.3d 1288, 1289 (11th Cir. 2003). The record further reflects that

   the Court clearly determined the defendant’s age, his educational background, and had not been

   recently treated for mental illness or drug addiction, and was not under the influence at the time of

   the change of plea. The Court further found that the defendant freely and voluntarily waived his

   right to an indictment and agreed to proceed on a charge set forth in an information. In response to

   the Court’s inquiry the defendant stated that he understood the consequences of his guilty plea, the

   minimum and maximum terms of imprisonment that could be imposed, the imposition of a term of

   supervised release, the maximum fine and mandatory special assessment. The Court further found

   that the defendant had read and discussed his plea agreement with his attorney, as acknowledged by

   the defendant, who also admitted that he understood the terms of the plea agreement and that no

   other promises were made to him to induce his plea of guilty.. He further acknowledged that he was

   satisfied with the services of his counsel.


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          At the hearing on the Motion to Withdraw Guilty Plea the defendant, in response to the

   Court’s inquiry, was not able to advise why he did not make his claims at the time of sentencing.

   He further offered no explanation for his failure to complain about the services of his attorney.

                           CONCLUSION AND RECOMMENDATION

          For reasons set forth above and based upon the Court’s review of the record, and

   consideration of the submissions of the parties and argument advanced at the hearing, the

   undersigned respectfully

          RECOMMENDS that the defendant’s Motion to Withdraw guilty Plea DENIED.

          The parties have ten (10) days from the date of this Report and Recommendation within

   which to file written objections, if any, with United States District Judge James Lawrence King. See

   28 U.S.C. §636 (1991). Failure to file timely objections may bar the parties from attacking on

   appeal the factual findings contained herein. LoConte v. Dugger, 847 F.2d 745, 750 (11th Cir.),

   cert. denied, 488 U.S. 958 (1988).

          RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida this 17th

   day of November, 2006.


                                                        _________________________________
                                                        BARRY L. GARBER
                                                        UNITED STATES MAGISTRATE JUDGE
   Copies furnished to:
   U.S. District Judge Moore
   Counsel of record
   Ben Johnson, pro se




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